
PER CURIAM.
- Billy Lewis appeals the summary denial of his motion for postconviction relief filed pursuant to Florida Rule of Criminal Procedure 3.850. We reverse and remand for the trial court to conduct an evidentiary hearing or attach those portions of the record that refute Lewis’s claim that his attorney misadvised him about his eligibility for the habitual offender sentence he received upon violating his probation.1 See Hill v. State, 611 So.2d 115 (Fla. 5th DCA1993).
REVERSED and REMANDED with directions.
SAWAYA, PALMMER and ORFINGER, JJ., concur.

. The court did not attach a copy of the violation of probation plea colloquy.

